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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 UNITED STATES OF AMERICA,                         23-cr-197 (S-1) (JS) (AYS)

         -v-                                       DECLARATION OF ANDREW
                                                   MANCILLA IN SUPPORT OF
  GEORGE ANTHONY DEVOLDER                          DEFENDANT GEORGE ANTHONY
  SANTOS,                                          DEVOLDER SANTOS’ MOTION
  Also known as “George Santos”                    FOR A PARTIALLY ANONYMOUS
                                                   JURY AND A WRITTEN JUROR
                                 Defendant.        QUESTIONNAIRE



       I, ANDREW MANCILLA, an attorney duly admitted to practice before this Court,

hereby declares under penalty of perjury and pursuant to 28 U.S.C. § 1746:

       1.      I am an attorney of record for the Defendant George Anthony Devolder Santos

(“Santos”), and as such I am fully familiar with the facts and circumstances stated herein.

       2.      I submit this declaration in support of Defendant Santos’ Motion for a partially

anonymous jury and for a written juror questionnaire in advance of voir dire.

       3.      On or about August 2, 2024, at my request, a search was conducted by our staff

for all articles that mentioned George Santos in the New York media (New York Times, New

York Post, New York Daily News, Wall Street Journal).

       4.      To determine the number of articles published that mentioned Santos, our office

staff conducted a manual search by visiting the websites of the New York Times, New York

Post, New York Daily News, and the Wall Street Journal. The manual search consisted of

visiting the publications’ websites, entering the search term of “George Santos” and the specified

date range for articles posted on or after December 1, 2022, and reporting the total amount

provided. With respect to the Wall Street Journal, a manual search using the methods described

above could not be completed due to the website’s capabilities, but an estimation was calculated
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using the number of page results and approximate number of articles per page. The approximate

totals are as follows:

        The New York Times: 508

        New York Daily News: 361

        New York Post: 556

        Wall Street Journal: 124

         5.     On or about August 2, 2024, at my request, an additional search was conducted

 for all articles that mentioned George Santos in the New York Times within the three (3) weeks

 following his indictment (from May 9, 2023 to June 1, 2022). The search was conducted using

 the same manual search method as described above with the new date range. The approximate

 total was 41 articles.

        6.      My staff was also instructed to conduct a general search (via Google) of publicity

related to the instant allegations. The articles located during that search are as follows:

    ● December 19, 2022, New York Times, “Who Is Rep.-Elect George Santos? His Résumé
      May Be Largely Fiction.” https://www.nytimes.com/2022/12/19/nyregion/george-santos-
      ny-republicans.html?searchResultPosition=25
    ● December 21, 2022, New York Times, “Did George Santos Also Mislead Voters About
      His Jewish Descent?” https://www.nytimes.com/2022/12/21/nyregion/george-santos-
      jewish-descent-fraud.html?searchResultPosition=32;
    ● December 23, 2022, New York Times, “George Santos’s Early Life: Odd Jobs, Bad Debts
      and Lawsuits.” https://www.nytimes.com/2022/12/23/nyregion/george-santos-republican-
      resume.html?searchResultPosition=39
    ● March 8, 2024, New York Magazine, “Here’s Every Single Lie Told By George Santos.”
      https://nymag.com/intelligencer/article/guide-george-santos-lies.html;
    ● January 20, 2023, New York Daily News, “George Santos lied about his mom being in the
      South Tower on 9/11, records show.”
    ● December 1, 2023, MSNBC, “George Santos’ time in the House of Representatives was
      331 days too long.” https://www.msnbc.com/opinion/msnbc-opinion/george-santos-
      expulsion-lies-congress-rcna127260
    ● December 1, 2023, Vanity Fair, “George Santos Has Been Booted From Congress: A
      Look Back At His Most Absurd Lies and Cons.”
      https://www.vanityfair.com/news/2023/01/george-santos-worst-lies
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   ● December 14, 2023, The New Yorker, “George Santos and the Art of the Scam”
     https://www.newyorker.com/podcast/critics-at-large/george-santos-and-the-art-of-the-
     scam
   ● February 1, 2023, ABC News, “George Santos’ ex-boyfriends say they were left feeling
     trapped, manipulated” https://abc7chicago.com/george-santos-scandal-ex-boyfriends-
     react/12758682/
   ● February 3, 2023, Slate, “We Finally Know How George Santos Gets His Amazing Skin”
     https://slate.com/news-and-politics/2023/02/george-santos-botox-smooth-skin-
     glowing.html
   ● November 19, 2023, Rolling Stone, “'SNL' Weekend Update Goes After George Santos'
     Botox, OnlyFans Grifts” https://www.rollingstone.com/tv-movies/tv-movie-news/snl-
     weekend-update-goes-after-george-santos-botox-onlyfans-grifts-1234886642/
   ● November 19, 2023, The New York Post, “‘SNL’ spoofs George Santos’ OnlyFans and
     Botox use, deploys panda to Biden presser”
     https://nypost.com/2023/11/19/entertainment/snl-spoofs-george-santos-onlyfans-use-
     deploys-panda-to-biden-presser/;
   ● November 21, 2023, Independent, “SNL stars can’t stop laughing in brutal George Santos
     skit” https://www.independent.co.uk/arts-entertainment/tv/george-santos-snl-botox-
     onlyfans-b2454174.html;
   ● November 18, 2023, Variety, ‘SNL’: Bowen Yang Plays George Santos and Explains His
     OnlyFans and Botox Spending” https://variety.com/2023/tv/news/snl-george-santos-
     bowen-yang-weekend-update-1235799897/
   ● May 10, 2023, New York Times, “George Santos’s Spectacularly Dumb Alleged Scheme”
     https://www.nytimes.com/2023/05/10/opinion/george-santos-money-
     campaign.html?searchResultPosition=15
   ● May 11, 2023, New York Daily News, “Lying Congressman George Santos out on bail
     after not guilty plea to federal charges of fraud, theft of public funds, money laundering,
     false statements” https://www.nydailynews.com/2023/05/10/lying-congressman-george-
     santos-out-on-bail-after-not-guilty-plea-to-federal-charges-of-fraud-theft-of-public-funds-
     money-laundering-false-statements/
   ● December 1, 2023, Rolling Stone, "George Santos Has Been Kicked Out of Congress,
     Finally” https://www.rollingstone.com/politics/politics-news/george-santos-expelled-
     congress-1234905936/
   ● December 1, 2023, The Atlantic, “George Santos Was Finally Too Much For
     Republicans” https://www.theatlantic.com/politics/archive/2023/12/george-santos-
     expulsion-vote-republicans/676207/
   ● December 4, 2023, The National Law Journal, “The Santos Expulsion: A Milestone in
     Congressional Governance and Ethics”
     https://www.law.com/nationallawjournal/2023/12/04/the-santos-expulsion-a-milestone-
     in-congressional-governance-and-ethics/
   ● February 23, 2023, CBS News, Rep. George Santos backs bill to make AR-15 assault rifle
     the ‘national gun of the United States’” https://www.cbsnews.com/newyork/news/george-
     santos-ar-15-assault-rifle-national-gun-of-the-united-states/
   ● October 13, 2023, Forbes, “George Santos Calls Man ‘Human Scum’ In Shouting Match
     Over Israel-Hamas Conflict”
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        https://www.forbes.com/sites/antoniopequenoiv/2023/10/13/george-santos-calls-man-
        human-scum-in-shouting-match-over-israel-hamas-conflict/
      ● March 22, 2024, CNN, “George Santos says he’s leaving the Republican Party and will
        run for Congress as an independent” https://www.cnn.com/2024/03/22/politics/george-
        santos-independent-republican-congress/index.html
      ● November 18, 2023, New York Times, “Geore Santos Is More Dangerous Than You
        Know” https://www.nytimes.com/2023/11/18/opinion/george-santos-republican-
        party.html

          6.     The Defendant’s Proposed Jury Questionnaire is attached hereto as Exhibit A.

          7.     Annexed hereto as Exhibit B is a true and correct copy of the district court’s

decision dated August 21, 2018 in United States v. Paul Manafort, No. 18-cr-83 (TSE) (E.D.V.A.,

August 21, 2018).

          8.     Annexed hereto as Exhibit C is a true and correct copy of Judge Juan Merchan’s

Order dated March 7, 2024, in People of the State of New York v. Donald J. Trump, Ind. No.

71543/2023 (Supreme Court of New York, NY. County, March 7, 2024).

          9.     Annexed hereto as Exhibit D is a true and correct copy of Judge Peter Cahill’s

Order dated April 23, 2021 in State of Minnesota v. Derek Chauvin 27-CR-20-12646 (4th District

of Minnesota, April 23, 2021).

Dated: August 6, 2024
       New York, New York
                                                       /s/ Andrew Mancilla
                                                       ANDREW MANCILLA, ESQ.



  To: All parties of record via ECF
